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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

 GWENDOLYN HEARN,                                   )
                                                    )
                                  Plaintiff,        )
                                                    )
                            v.                      )    No. 19 C 3346
                                                    )
 MEGAN J. BRENNAN, Postmaster General               )    Magistrate Judge McShain
 United States Postal Service,                      )
                                                    )
                                  Defendant.        )

                                     JOINT STATUS REPORT

          Per this court’s June 5, 2020 order (Dkt. 45), the parties submit the following joint status

report:

A.        Progress of Discovery

          Ms. Hearn’s deposition was taken by remote means on July 14, 2020. The parties anticipate

finishing fact discovery by the August 17, 2020, deadline.

B.        Status of Briefing on Unresolved Motions

          Not applicable.

C.        Settlement Efforts

          The parties do not request a settlement conference at this time.

D.        Agreed Proposed Discovery Schedule

          The current fact discovery deadline, extended by the general orders, is August 17, 2020.

The parties propose that this remain the fact discovery deadline.

E.        Telephonic Status with the Magistrate

          The parties do not request a telephonic status with the magistrate judge at this time.
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    Case: 1:19-cv-03346 Document #: 47 Filed: 08/03/20 Page 3 of 3 PageID #:194




                               CERTIFICATE OF SERVICE

       The undersigned Assistant United States Attorney hereby certifies that in accordance with
Fed. R. Civ. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF), the following
document:

         JOINT STATUS REPORT

was served pursuant to the district court’s ECF system as to ECF filers, if any, and was sent by
first-class mail and email on August 3, 2020, to the following non-ECF filer:

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